61 F.3d 895
    76 A.F.T.R.2d 95-5500, 95-2 USTC  P 50,414
    Lee D. Hustead, Marjorie L. Husteadv.Commissioner of Internal Revenue
    NO. 94-7710
    United States Court of Appeals,Third Circuit.
    June 28, 1995
    
      1
      Appeal From:  U.S.T.C.
    
    
      2
      AFFIRMED.
    
    
      3
      Federal Reporter.  The Third Circuit provides by rule for the reporting of opinions having 'precedential or institutional value.  An opinion which appears to have value only to the trial court or the parties is ordinarily not published.' The Federal Reporter tables are prepared from lists of cases terminated by judgment orders, unpublished per curiam opinions and unpublished signed opinions, indicating the disposition of each case, transmitted by the Court.  Third Circuit Rules, App. 1, Internal Operating Procedures, Ch. 5, sec. 5.1, 28 U.S.C.A.)
    
    